AO 257 (Rev. 6/78)            Case 4:22-cr-00359-YGR Document 1 Filed 09/20/22 Page 1 of 5

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT               INFORMATION                  INDICTMENT                       Name of District Court, and/or Judge/Magistrate Location
                                                               SUPERSEDING                        NORTHERN DISTRICT OF CALIFORNIA
          OFFENSE CHARGED
                                                                                                                OAKLAND DIVISION
 15 U.S.C. §§ 78j(b) and 78ff; 17 C.F.R. §§ 240.10b-5,                Petty
 240.10b5-1, 240.10b5-2 – Securities Fraud (Insider Trading)
                                                                      Minor              DEFENDANT - U.S
                                                                      Misde-                                                               FILED
                                                                      meanor
                                                                                        JOHN MENDES                                         Sep 20 2022
                                                                      Felony
                                                                                            DISTRICT COURT NUMBER                           Mark B. Busby
PENALTY:      Maximum term of imprisonment: 20 years                                                                                  CLERK, U.S. DISTRICT COURT
              Maximum term of supervised released: 3 years                                                                         NORTHERN DISTRICT OF CALIFORNIA
              Maximum fine: $5 million                                                  4:22-cr-00359-YGR                                      OAKLAND
              Mandatory $100 special assessment
              Potential Forfeiture
                                                                                                                      DEFENDANT
                             PROCEEDING                                                       IS NOT IN CUSTODY
                                                                                                Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                             1)       If not detained give date any prior
                         FBI (SA Jeffrey Chisholm)
                                                                                                summons was served on above charges          
       person is awaiting trial in another Federal or State Court,                     2)       Is a Fugitive
       give name of court
                                                                                       3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                              IS IN CUSTODY
                                                                                       4)       On this charge
       this is a reprosecution of

                                                                                                                                 }
       charges previously dismissed                                                    5)       On another conviction
       which were dismissed on motion                            SHOW                                                                      Federal         State


                                                        }
       of:                                                     DOCKET NO.
                                                                                       6)       Awaiting trial on other charges
            U.S. ATTORNEY              DEFENSE
                                                                                                 If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                          }
                                                                                                                Yes            If "Yes"
       pending case involving this same                                                     Has detainer
                                                                                                                               give date
       defendant                                               MAGISTRATE                   been filed?         No             filed


                                                        }
                                                                CASE NO.
       prior proceedings or appearance(s)                                                   DATE OF
                                                                                            ARREST
                                                                                                                      Month/Day/Year
       before U.S. Magistrate regarding this
       defendant were recorded under                                                        Or... if Arresting Agency & Warrant were not

                                                                                                                                     Month/Day/Year
Name and Office of Person
Furnishing Information on this form              STEPHANIE M. HINDS
                                                                                            DATE TRANSFERRED
                                                                                            TO U.S. CUSTODY
                                                                                                                          
                                 U.S. Attorney          Other U.S. Agency

Name of Assistant U.S.                                                                           This report amends AO 257 previously submitted
Attorney (if assigned)                     Sailaja M. Paidipaty
                                                       ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
            SUMMONS               NO PROCESS*                  WARRANT         Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                 * Where defendant previously apprehended on complaint, no new summons or
                                                                               warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                               Date/Time:                                 Before Judge:

        Comments:
                  Case 4:22-cr-00359-YGR Document 1 Filed 09/20/22 Page 2 of 5




 1 STEPHANIE M. HINDS (CABN 154284)                                                       FILED
   United States Attorney
 2                                                                                          Sep 20 2022
                                                                                           Mark B. Busby
                                                                                     CLERK, U.S. DISTRICT COURT
 3                                                                                NORTHERN DISTRICT OF CALIFORNIA
                                                                                              OAKLAND
 4

 5

 6

 7

 8                                    UNITED STATES DISTRICT COURT

 9                                  NORTHERN DISTRICT OF CALIFORNIA

10                                             OAKLAND DIVISION

11   UNITED STATES OF AMERICA,                            )   CASE NO. 4:22-cr-00359-YGR
                                                          )
12           Plaintiff,                                   )   VIOLATIONS:
                                                          )   15 U.S.C. §§ 78j(b) and 78ff; 17 C.F.R. §§ 240.10b-
13      v.                                                )   5, 240.10b5-1, 240.10b5-2 – Securities Fraud
                                                          )
14   JOHN MENDES,                                         )
                                                          )
15           Defendant.                                   )   OAKLAND VENUE
                                                          )
16                                                        )

17                                             INFORMATION
18 The United States Attorney charges:

19                                            Introductory Allegations
20           At all times relevant to this Information:
21                                        Relevant Entities and Individuals
22           1.      Defendant JOHN MENDES (“MENDES”) was a resident of Oakland, California. He
23 was employed as a registered representative and investment advisor representative with a broker-dealer

24 and investment advisory registered with the Securities and Exchange Commission. Mendes was close

25 friends with an individual referenced herein as “Insider One.”

26           2.      Granite Construction, Inc. (“Granite”) was a construction materials company focused on
27 large scale public and private infrastructure projects, headquartered in Watsonville, California. Granite

28 was publicly traded on the New York Stock Exchange under the symbol “GVA.”


     INFORMATION                                          1
                 Case 4:22-cr-00359-YGR Document 1 Filed 09/20/22 Page 3 of 5




 1          3.      Layne Christensen Company (“Layne”) was a water management, construction, and

 2 drilling company, that was headquartered at the time in The Woodlands, Texas. Layne was publicly

 3 traded on the New York Stock Exchange under the symbol “LAYN,” until it was acquired by Granite in

 4 2018.

 5          4.      “Insider One” is an individual who worked at Granite during the period in which Granite

 6 was engaged in negotiations to acquire Layne and then reached an agreement to acquire Layne. Insider

 7 One actively worked on the acquisition and learned material non-public information regarding the deal

 8 prior to any public disclosure of the potential acquisition. As a requirement of Insider One’s

 9 employment, Insider One received training in and agreed to by bound by Granite’s policies and

10 procedures, which prohibited insider trading and improper disclosure of material nonpublic information.

11 As part of Insider One’s employment, Insider One had a duty to maintain the confidentiality of

12 information learned in the course of employment with Granite, including confidential business

13 information regarding potential acquisitions.

14                                          The Insider Trading Scheme

15          5.      From a time unknown, but no later than November 2016 through in or about February

16 2018, MENDES devised a scheme to defraud in connection with securities of Layne. During this time,

17 Insider One disclosed material nonpublic information to MENDES regarding Granite’s potential

18 acquisition of Layne before the transaction was disclosed publicly. MENDES learned this information

19 in the course of his friendship with Insider One. MENDES knew that Insider One learned the material

20 nonpublic information in the course of Insider One’s employment at Granite. MENDES further knew

21 that by disclosing the information MENDES, Insider One was violating a duty to maintain the

22 confidentiality of information learned in the course of employment with Granite.

23          6.      MENDES used the material nonpublic information that he learned from Insider One to

24 purchase or sell securities for his benefit.

25          7.      In doing so MENDES breached a duty of trust and confidence that he had with Insider

26 One based on their friendship. MENDES had a history, pattern, or practice of sharing confidences with

27 Insider One and knew or reasonably should have known that Insider One expected that MENDES would

28 maintain the confidentiality of the material nonpublic information.


     INFORMATION                                     2
                 Case 4:22-cr-00359-YGR Document 1 Filed 09/20/22 Page 4 of 5




 1          8.      As a part of the scheme to defraud, MENDES purchased LAYN stock based on material

 2 nonpublic information in advance of a February 14, 2018, announcement notifying the public of

 3 Granite’s anticipated acquisition of Layne. For example, on November 3, 2017, MENDES purchased

 4 1,000 shares of LAYN in a brokerage account that he managed for his parents at a cost of approximately

 5 $13,140. The following week, on November 12, 2017, MENDES purchased 670 shares of LAYN in a

 6 brokerage account in MENDES’s wife’s name at a cost of approximately $8,789. Between November

 7 2017 and January 2018, MENDES purchased common stock or options of LAYN in no fewer than 10

 8 client accounts. All of these securities were sold for a profit following the February 14, 2018

 9 announcement of Granite’s acquisition of Layne. Based on the price of LAYN stock from the time they

10 were purchased to the time they were sold after the announcement of Granite’s agreement to acquire

11 Layne, the purchases of LAYN stock generated profits of approximately $54,687 in his wife’s accounts,

12 $15,251 in his parents’ accounts, and approximately $173,000 in his other customers’ and clients’

13 accounts.

14 COUNT ONE:              (15 U.S.C. §§ 78j(b) and 78ff; 17 C.F.R. §§ 240.10b-5, 240.10b5-1, 240.10b5-2 –
                           Securities Fraud)
15

16          9.      Paragraphs 1 through 8 are re-alleged and incorporated as if fully set forth here.

17          10.     From a time unknown, but no later than November 2016 through in or about February

18 2018, in the Northern District of California and elsewhere, the defendant,

19                                               JOHN MENDES,

20 did willfully and knowingly, directly and indirectly, by the use of means and instrumentalities of

21 interstate commerce, and of the mails, and of facilities of national securities exchanges, in connection

22 with the purchase and sale of securities, use and employ manipulative and deceptive devices and

23 contrivances, in violation of Title 17, United States Code, Section 78j(b) and 78ff, and Title 17, Code of

24 Federal Regulations, Sections 240.10b5, 240.10b5-1, and 240.10b5-2, by (a) employing devices,

25 schemes, and artifices to defraud; (b) making untrue statements of material fact and omitting to state

26 material facts necessary in order to make the statements made, in the light of the circumstances under

27 which they were made, not misleading; and (c) engaging in acts, practices, and course of business which

28 operated and would operate as a fraud and deceit upon persons, specifically, MENDES executed and


     INFORMATION                                      3
              Case 4:22-cr-00359-YGR Document 1 Filed 09/20/22 Page 5 of 5




 1 caused others to execute securities transactions in Layne stock and options based on material nonpublic

 2 information, including through the purchase of approximately 1,000 shares of Layne common stock on

 3 November 3, 2017 at a cost of $13,140.70 through a brokerage account held at Independent Financial

 4 Group.

 5 DATED: September 20, 2022                            STEPHANIE M. HINDS
                                                        United States Attorney
 6
                                                        /s/ Sailaja M. Paidipaty
 7                                                      SAILAJA M. PAIDIPATY
                                                        Assistant United States Attorney
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     INFORMATION                                   4
